Case 5:23-cv-05118-TLB Document 106-9   Filed 11/01/23 Page 1 of 3 PageID #: 2601




                        EXHIBIT 8
9/7/23, 4:39Case
             PM  5:23-cv-05118-TLB              Document    106-9 GALA
                                                    Equistone-backed Filed  11/01/23
                                                                        Kerzen             Page
                                                                               acquires Korona    2 ofS.A.
                                                                                               Candles 3 PageID #: 2602



News




Equistone-backed GALA Kerzen acquires Korona Candles S.A.
27 Apr 2018


GALA Kerzen, a leading manufacturer of candles backed by Equistone Partners Europe (“Equistone”), today
announces its third bolt-on transaction since February with the acquisition of Korona Candles S.A. (“Korona”). Based in
Poland, Korona is one of the world’s leading manufacturers of “private label” candle products. With the acquisition of
Korona, GALA Kerzen is further expanding its product range, growing its international presence, and establishing itself
as a leading global candle manufacturer following the recent additions of Indian company Ramesh Flowers and Berlin-
based JewelCandle to the group. GALA Kerzen has acquired its shareholding in Korona from the company’s
management, who will in turn acquire a stake in the GALA Kerzen group, as well as private investors. The financial
terms of the deal are undisclosed.

Through the partnership with Korona, GALA Kerzen will expand its presence in both Europe and the USA. Korona is a
global manufacturer of candles and supplies renowned international companies with a wide range of private label
products. Its product range includes tealights, pillar candles and scented candles as well as votive candles, candles in
glass, ceramic and metal containers and different candle refill systems. Founded in 1992, the company is
headquartered in the Polish city of Wieluń and also has a production site in Dublin, Virginia in the USA. Candle
production at Korona is highly automated and a modern logistics centre handles the company’s worldwide distribution.
The company employs around 1000 people and generates a turnover of over €100 million.

Andrzej Wróbel, Board Member at Korona, said: "In 2013 we opened our production site in the USA, unlocking huge
customer potential for our company, as the US candle market is the world’s largest in terms of demand. At the same
time, the production site in the US gives us a great deal of flexibility to be able to respond to market needs and
especially to market ‘Made in USA’ products. Together with GALA Kerzen we will now take the next step in the
development of our company."

Dirk Langhammer, Managing Director at GALA Kerzen, added: "Korona stands for quality and sustainable business
development; the company is highly innovative and extremely flexible. At the same time, Korona is distinguished by its
strong customer loyalty and stable business connections. This combination is one of the key drivers of Korona’s
success. We want to take advantage of this and work with Korona to drive forward major expansion in Europe and the
US market."

In 2016, as part of a succession plan, Equistone acquired GALA Kerzen with the aim of driving growth through strategic
acquisitions. Dirk Schekerka, Country Head of Equistone in the DACH region, commented: "The acquisition of Korona
is another major step for GALA Kerzen and the third bolt-on within the space of a few months. Our recent acquisitions
have expanded our product range and helped us to access new target markets as well as opening up completely new
sales channels for us. Korona provides additional production flexibility and sales potential in both Europe and the US.
We are making great strides towards building a global consortium."

Dirk Schekerka, Leander Heyken and Tanja Berg led the transaction for Equistone. The firm was advised by CatCap
Corporate Finance (M&A), P+P Pöllath + Partners & WKB (Legal), Watson Farley & Williams LLP & WKB (Tax), PwC
(Commercial) and KPMG (Financial).

Korona’s shareholders were advised by PwC (M&A) and Weil, Gotshal & Manges LLP (Legal).



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9/7/23, 4:39Case
             PM  5:23-cv-05118-TLB                Document    106-9 GALA
                                                      Equistone-backed Filed  11/01/23
                                                                          Kerzen             Page
                                                                                 acquires Korona    3 ofS.A.
                                                                                                 Candles 3 PageID #: 2603
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